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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

 

FREDRICA L. BANKS * CIVIL ACTION NO.
*

VERSUS ® DIVISION
*

UNITED STATES OF AMERICA * MAGISTRATE

 

PLAINTIFF’S ORIGINAL COMPLAINT
di,

Plaintiff, FREDRICA L. BANKS, a citizen of the State of Louisiana, respectfully
files this Complaint against the United States of America under the Federal Tort Claims
Act, 28 USC § 2671 et seq., for personal injuries caused by the negligence of tbe
officers/employees of the United States.

PARTIES
2.
The Plaintiff, FREDRICA L. BANKS, is a resident and citizen of the State of
Louisiana.
3.
The Defendant is the UNITED STATES OF AMERICA.
JURISDICTION AND VENUE
4.

This Court has jurisdiction under 28 USC § 1346(b).
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5.

Venue is proper in this Court under 28 U.S.C. § 1402(b) because the plaintiff is a
resident and citizen of Terrebonne Parish, Louisiana, encompassed within the Eastern
District; and also because the act or omission at issue occurred in the Eastern District of
Louisiana, specifically in Terrebonne Parish.

CONDITIONS PRECEDENT
6.

Plaintiff timely presented her claim in writing to the United States. Plaintiff
submitted an SF-95 to the United States, which the United States received. The United
States has not yet made a determination as to the Plaintiff's claim. However, as more than
six months have passed since the claim was presented, suit is authorized under 28 USC
§§ 2675(a) and 2401, as the Plaintiff exercises her option of deeming the government’s
inaction a final denial.

FACTS
a

On or about October 22, 2019, an accident occurred on East Street in the City of
Houma, Parish of Terrebonne, State of Louisiana. At the time Plaintiff was lawfully
proceeding down East Street as she walked along the sidewalk having just left the Shop
Rite nearby. Suddenly and without warning, a United States postal truck pulled from
under a hotel canopy, striking and injuring Plaintiff. The postal employee of the United
States, at all times, was acting in the course and scope of her employment with the United
States. The negligent action of the postal employee caused personal injury to Plaintiff,

Fredrica L. Banks.
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COUNT 1 -- FEDERAL TORT CLAIMS ACT

 

8.

This act by the officer/employee of the Defendant, United States of America was
negligent. Officer/employee of the United States and was acting within the course and
scope of her office or employment and had a duty to exercise ordinary care and operate
the postal truck she was operating reasonably and prudently. Under Louisiana law, a
private person would be liable to Plaintiff for this act or omission. Under 28 USC §
1346(b), the United States is liable to plaintiff for her personal injury described below.

DAMAGES
9.

As a direct and proximate result of the negligence of the officer/employee of the

Defendant/United States of America, Plaintiff, Fredrica L. Banks, suffered the following

injuries and damages:

a) physical pain and mental anguish in the past and future;
b) medical expenses in the past and future;
c) lost wages in the past and future;
d) physical impairment in the past and future; and
e) loss of enjoyment of life.
PRAYER
10.

For these reasons, Plaintiff asks for judgment against Defendant for the
following:

a) $250000 as actual damages for Fredrica L. Banks;
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b)

d)
e)
f)
h)
i)
)

Past and future lost wages;

Past and future medical expenses;

Past and future loss of enjoyment of life;
Past and future general damages;

All other forms of damages allowed by law;
costs of suit;

post-judgment interest; and

all other relief the court deems appropriate.

Plaintiff further prays for all general and equitable relief.

Respectfully submitted:

STRA

By:

& KING, APL

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